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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

COMMONWEALTH OF                                             CIVIL ACTION
PENNSYLVANIA AND STATE OF NEW
JERSEY,

                      Plaintiffs,
                                                            NO. 17-4540
              v.

DONALD J. TRUMP, et al.,

                      Defendants,

LITTLE SISTERS OF THE POOR
SAINTS PETER AND PAUL HOME,

                      Defendant-Intervenor.


                           AMENDED SCHEDULING ORDER

      AND NOW, this 6th day of March, 2025, upon consideration of the parties’ Joint Motion

to Amend Scheduling Order (ECF No. 339), IT IS HEREBY ORDERED that:

           1. The parties shall be permitted to dispense with the refiling of the previous Joint
   Appendix filed as ECF No. 253 and the Supplement of Joint Appendix filed as ECF
   No. 256, as required by the Court’s policies and procedures, and may instead cite directly to
   these filed appendices within their motion briefs.

          2. The parties shall be permitted to dispense with the filing of any additional
   separate statements of facts, as required by the Court’s policies and procedures.



                                                   BY THE COURT:
                                                   S/ WENDY BEETLESTONE

                                                   WENDY BEETLESTONE, J.
